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10                           CENTRAL DISTRICT OF CALIFORNIA

11                                    WESTERN DIVISION

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14 TROWBRIDGE SIDOTI,LLP                      )
                                                           Case No. CV 16-00771-ODW
15                                           )
                                                           QUESTION FROM THE JURY
16                                           )
      Plaintiffs                             )             QUESTION # 1
17                                           )

1s VS                                         j            Date: 02-23-2018
      KIM LISA TAYLOR,ET AL.                 )
19                                           )

20                                           )

21 Defendants                                )

22                                           )

23 Question 17 begins on line 27 of page 5. The answer to question 17 begins on the next page,

24 which is page 6 line 2.

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